               Case 19-24331-PDR        Doc 37    Filed 02/02/20      Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA

IN RE:                                           CASE NO. 19-24331-BKC-JKO
                                                 CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

                                CERTIFICATE OF SERVICE
         HEREBY CERTIFY that true copies of the following documents were served upon all
interested parties listed on the attached Service List, in the manner noted therein, on February
2, 2020:

      1. Objection to Proof of Claim filed by Department of the Treasury – Internal Revenue
Service (Claim no.: 3-1).

      2. Notice of Hearing on Objection to Proof of Claim filed by Department of the
Treasury – Internal Revenue Service (Claim no.: 3-1) scheduled for March 2, 2020.

Dated: February 2, 2020                          LAW OFFICES OF MICHAEL H. JOHNSON
                                                 Attorneys for Debtor(s)
                                                 3601 W. Commercial Blvd, Ste 31
                                                 Ft. Lauderdale, FL 33309
                                                 (954) 535-1131

                                                 By:_/s/ Michael H. Johnson_____
                                                    Michael H. Johnson
                                                    Florida Bar No. 0149543

                                                    I HEREBY CERTIFY THAT I AM ADMITTED TO THE BAR OF THE
                                                    UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                                                    DISTRICT OF FLORIDA AND I AM IN COMPLIANCE WITH THE
                                                    ADDITIONAL QUALIFICATIONS TO PRACTICE IN THIS COURT
                                                    SET FORTH IN LOCAL RULE 2090-1(A).
             Case 19-24331-PDR      Doc 37   Filed 02/02/20   Page 2 of 2




SERVICE LIST:

VIA CM/ECF:
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
ecf@ch13weiner.com;ecf2@ch13weiner.com

VIA U.S. MAIL:
Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Internal Revenue Service
7850 SW 6 Ct.
M/S 5730
Jacksonville, FL 32202
ATTN: Jorge Luciano, Bankruptcy Specialist
